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1    BARBARA HOPE O’NEILL #102968
     Attorney at Law
2    2014 Tulare Street, Suite 510
     Fresno, California 93721
3    Telephone: (559) 459-0655
4    Attorney for Bonnie Lynn Recinos
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8                              UNITED STATES DISTRICT COURT
9                             EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA, )              CASE No. 1:12-cr-000035 AWI- BAM
11
                               )
12                             )              STIPULATION REGARDING
               Plaintiff,      )              CONTINUANCE: FINDINGS AND
13                             )              ORDER
          v.                   )
14
                               )               EXCLUSION OF TIME ADDED
15   BONNIE LYNN RECINOS,      )
                               )
16             Defendant.      )
17
                                            STIPULATION
18
        Defendant and co-defendant by and through their counsel of record and Plaintiff by and
19
     through its counsel of record, hereby stipulate as follows:
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        1.   By previous order, this matter was set for status hearing on Monday, March10, 2014
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     at 1 p.m.
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        2.   By this stipulation, the parties now move to continue the status date to March 24,
23   2014 at 1 p.m.
24      3.   The parties agree and stipulate, and request that the Court find the following:
25      4.   Defendant Recinos has been ill and unable to attend court for a number of hearings.
26   She has recently received new medication. She wishes to attend the next court hearing and

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     this would allow her additional time to stabilize with her new medication. Furthermore
     counsel for Ms. Recinos will be out of state on March 10, 2014.
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1        5.   Based on the above, the ends of justice served by continuing the case as requested
2    outweigh the interest of the public and the defendants in a trial within the original date
3    prescribed by the Speedy Trial Act. For the purpose of computing time under the Speedy

4    Trial Act, 18 U.S.C. § 1361, et seq., within which trial must commence, the time period of the

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     date of this stipulation to March 24, 2014, inclusive, is deemed excludable pursuant to 18
     U.S.C. §§ 1361(h)(7)(A) and 3161 (h)(7)(B)(i) and (iv) because it results from a continuance
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     granted by the Court at defendants’ request on the basis of the Court’s finding that the ends of
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     justice served by taking such action outweigh the best interest of the public and the defendants
8
     in a speedy trial.
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         IT IS SO STIPULATED:
11   DATED:          March 3, 2014            Respectfully submitted,
12                                            s/s Barbara hope O’Neill       .
                                               BARBARA HOPE O’NEILL,
13
                                               Attorney for Bonnie Lynn Recinos
14   DATED:          March 3, 2014            s/s Jeremy Kroger                .
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                                               JEREMY KROGER,
                                               Attorney for Julie Leon Obdulia
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     DATED:          March 3, 2014            s/s Henry Z. Carbajal, III               .
17                                             Henry Z. Carbajal, III
18
                                               Assistant United States Attorney
                                                 ORDER
19
     IT IS SO ORDERED that the 7th (Ricinos) and 8th (Leon) Status Conference is continued
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     from March 10, 2014 to March 24, 2014 at 1:00 PM before Judge McAuliffe. Time is
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     excluded from 3/10/2014 to 3/24/2014 pursuant to 18 U.S.C. §§ 1361(h)(7)(A) and 3161
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     (h)(7)(B)(i) and (iv).
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     IT IS SO ORDERED.
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         Dated:     March 4, 2014                              /s/ Barbara A. McAuliffe
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26                                                      UNITED STATES MAGISTRATE JUDGE
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